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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                             )
                                                   )       Chapter 11
American Home Mortgage Holdings, Inc., a           )
Delaware corporation, et al.,                      )
                                                   )      Case No. 07-11047(CSS)
                           Debtors.                )      Jointly Administered

                                 CERTIFICATE OF SERVICE

         The undersigned hereby states that true and correct copies of the Notice of Appeal were

served on April 25, 2008, upon all interested persons via CM/ECF and first class regular mail:

James L. Patton, Jr., Esquire                      Unsecured Creditor Committee
Sean M. Beach, Esquire                             Bonnie Glantz Fatell, Esquire
Young Conoway Stargatt & Taylor, LLP               David W. Carickhoff, Jr., Esquire
The Brandywine Building                            Blank Rome LLP
1000 West Street, 17th Floor                       1201 Market Street
Wilmington, DE 19801                               Suite 800
                                                   Wilmington, DE 19801

Office of the United States Trustee
844 North King Street
Room 2207
Lockbox #35
Wilmington, Delaware 19801


                                              /s/ Todd C. Schiltz
                                              Todd C. Schiltz (#3253)
                                              WolfBlock LLP
                                              1100 North Market Street, Suite 1001
                                              Wilmington, DE 19801
                                              (302) 777-0312
                                              Attorneys for Wells Fargo Bank, N.A.
